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From:                                   Fritz, Maranda <Maranda.Fritz@thompsonhine.com>
Sent:                                   Thursday, March 08, 2018 7:34 PM
To:                                     Miller, Terry; Aaron Lebenta
Cc:                                     Brent R. Baker; Jonathan D. Bletzacker; Carlyle, Zachary T.; Pinkston, Marla J.
Subject:                                RE: SEC v. Alpine - Deposition of John Hurry


It seems to me that you would need to have served the subpoena before any motion could be filed.

Maranda

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From: Miller, Terry [mailto:millerte@SEC.GOV]
Sent: Thursday, March 08, 2018 8:50 PM
To: Aaron Lebenta
Cc: Fritz, Maranda; Brent R. Baker; Jonathan D. Bletzacker; Carlyle, Zachary T.; Pinkston, Marla J.
Subject: Re: SEC v. Alpine - Deposition of John Hurry

I’m just trying to get this to a point that you can address the court with your objections. Can we just agree that
you will file a motion for protective order if we serve you with a notice? Do we really need to serve a subpoena
personally for you to ask the court for assistance?

Sent from my iPhone

On Mar 8, 2018, at 6:23 PM, Aaron Lebenta <ADL@ClydeSnow.com> wrote:


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Terry,



Thank you for your email. We have told you several times that Alpine objects to the deposition
of Mr. Hurry on multiple grounds. Confirming a date for the deposition seems unnecessary until
the Court resolves our objection. However, March 23 would not work for a deposition in any
event. Ms. Farmer’s deposition in Iowa is on March 22, and is scheduled to proceed late into the
evening. As a result, there is a significant likelihood that none of us will be able to leave Iowa
until March 23. With your unavailability the week of March 27, it looks like the earliest
any such deposition could occur, if it were to be allowed by the Court, is in April. Finally, we
have not been authorized to accept service of a subpoena on Mr. Hurry’s behalf.



Thank you.



Aaron Lebenta




From: Miller, Terry <millerte@SEC.GOV>
Sent: Wednesday, March 7, 2018 2:10 PM
To: maranda.fritz@thompsonhine.com; Brent R. Baker; Aaron Lebenta; Jonathan D. Bletzacker
Cc: Carlyle, Zachary T.; Pinkston, Marla J.
Subject: SEC v. Alpine ‐ Deposition of John Hurry


Alpine counsel,



I’m reaching out one more time about scheduling John Hurry’s deposition, which we have tried
to do since February 23. You have not told us that you can accept service of a subpoena on his
behalf and have not given us available dates.



We will begin the process of personal service tomorrow if we don’t hear that you will accept
service. We will schedule the deposition for March 23 at the SEC’s Salt Lake office. We will
consider specific alternative dates and specific alternative locations if the date or location is not
convenient for Alpine or the witness.



Thanks very much,


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Terry R. Miller
Trial Counsel, Division of Enforcement

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